                            IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

MISSOURI PRIMATE FOUNDATION, et                      )
al.,                                                 )
                                                     )
     Plaintiffs,                                     )
                                                     )
v.                                                   ) Case No: 4:16-CV-2163-CDP
                                                     )
PEOPLE FOR THE ETHICAL                               )
TREATMENT OF ANIMALS, INC., et al.                   )
                                                     )
     Defendants.                                     )

      COUNTERCLAIM DEFENDANT CONNIE BRAUN CASEY’S MOTION FOR
                        PROTECTIVE ORDER

        COMES NOW Counterclaim Defendant Connie Casey (hereinafter “Casey”), by and

through undersigned counsel, and for her Motion for Protective Order, and states as follows:

        1.         On or about December 31, 2018, Counterclaim Plaintiffs People for the Ethical

Treatment of Animals, Inc. and Angela Scott (hereinafter collectively referred to as “PETA”)

served a Notice of Deposition for the corporate designee of Defendant Missouri Primate

Foundation (hereinafter referred to as “MPF”) pursuant to Fed. R. Civ. P. 30(b)(6). See Notice

of Deposition attached hereto as Exhibit A.

        2.         MPF is a dissolved Missouri nonprofit corporation, and it is currently in default in

this case. See Administrative Dissolution attached hereto as Exhibit B; Clerk’s Entry of Default,

Dkt. No. 61.

        3.         When MPF was still operating, MPF had extremely limited activities.             See

Excerpts of Deposition of Connie Casey attached hereto as Exhibit C; Excerpts of Douglas
Pernikoff Deposition attached hereto as Exhibit D; Excerpts of Deposition of Lisa Harned

attached hereto as Exhibit E.

          4.       Of the board of directors, only Counterclaim Defendant Connie Casey

(hereinafter referred to as “Casey”) has any meaningful information concerning the corporation.

. See Excerpts of Deposition of Connie Casey attached hereto as Exhibit C; Excerpts of Douglas

Pernikoff Deposition attached hereto as Exhibit D; Excerpts of Deposition of Lisa Harned

attached hereto as Exhibit E; 2016 Annual Registration Report attached hereto as Exhibit F.

          5.       Casey has already undergone a grueling deposition that exceeded the time limits

that Fed. R. Civ. P. 30(d)(1) imposes on depositions that addressed, among other things, MPF

and MPF’s limited activities. 1 See Casey’s Memorandum in Opposition to PETA’s Motion to

Compel a continued deposition of Casey, Dkt. No. 139.

          6.       Furthermore, PETA has directed extensive and burdensome written discovery to

Casey, which also addressed the operations of MPF. See Casey’s Memorandum in Opposition to

Scott’s Motion for Leave to Testify Remotely and attachments thereto, Dkt. No. 145.

          7.       The Notice of Deposition at issue will necessarily expose Casey to another multi-

hour deposition rehashing testimony she has already given in this case because Casey is the only

person who can reasonably act as a corporate designee of MPF.

          8.       The Notice of Deposition at issue also has no legitimate discovery purpose in this

matter because MPF is dissolved, MPF is in default, and PETA has already been able to obtain

any information that exists through other means.

          9.       Counsel for the parties have conferred regarding this matter and other discovery

issues by phone on January 18, 2019 for approximately half an hour and failed to reach an

agreement.
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    Casey incorporates by reference the contents of that Response Memorandum in this Motion and Memorandum.

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       10.        However, the parties following the call did make arrangements to avoid incurring

further costs relative to the noticed corporate designee deposition based on Casey’s stated intent

to file a Motion for Protective Order. See E-Mail Correspondence attached hereto as Exhibit G.

       11.        Under Fed. R. Civ. P. 26(c) and Fed. R. Civ. P. 26(b)(2)(C), the Court has broad

power to limit discovery that is unduly burdensome and/or has little value as a legitimate

discovery tool.

       12.        Here, it is evident that Rule 30(b)(6) Notice of Deposition will impose a

significant and unnecessary burden on Casey and that it has no legitimate discovery purpose in

this matter.

        13.       Consequently, Casey is entitled to an order prohibiting PETA from pursuing the

corporate designee deposition.

        WHEREFORE, Counterclaim Defendant Connie Braun Casey prays that this Court

grants Casey’s Motion for Protective Order and, for such other and further relief as this Court

deems necessary and proper under the circumstances.

                                               RYNEARSON, SUESS, SCHNURBUSCH &
                                               CHAMPION, LLC.

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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was sent by email and the Court’s electronic filing system on this 30th day of January 2019 to:

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